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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND DIVISION

   IN RE Verna Ndiaye
    Debtor

                                                 Case Number: 19-32975KRH
                                                 Chapter 13

                                   NOTICE OF MOTION
                                 AND NOTICE OF HEARING

   PLEASE TAKE NOTICE THAT Verna Ndiaye, the Debtor(s), by and through counsel,
   has (have) filed papers with the Court to incur debt to finance mortgage defaults.

   Your rights may be affected. You should read these papers carefully and discuss
   them with your attorney, if you have one in this bankruptcy case. (If you do not
   have an attorney, you may wish to consult one.)

   If you do not want the Court to grant the relief sought in the motion, or if you want the
   Court to consider your views on the Motion, then on or before fourteen days from the
   date of this Notice, you or your attorney must:

         File a response with the Court, pursuant to Local Bankruptcy Rule 9013-1(H)]. If
         you mail your request for hearing (or response) to the court for filing, you must
         mail it early enough so the court will receive it on or before the date stated above.

                         Clerk of Court, US Bankruptcy Court
                         701 E. Broad Street, 4th Floor
                         Richmond VA 23219
   You must also mail a copy to:

   Carl Bates                                             H. Darden Hutson
   PO Box 1819                                            Fresh Start Law Office PLLC
   Richmond, VA 23218-1819                                4907 Hermitage Road #205
                                                          Richmond VA 23227



   Attend the hearing scheduled to be held on April 20, 2022 at 12:00PM in Courtroom
   5000 701 E Broad Street Richmond, VA 23219 (or as directed by the Clerk). If no
   timely response has been filed opposing the relief requested, the court may grant the
   relief without holding a hearing.
   H. Darden Hutson, VSB 29069
   Fresh Start Law Office PLLC
   4807 Hermitage Road #205
   Richmond VA 23227
   Tel 804 266 4680
   Fax 866 455 1349
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   If you or your attorney do not take these steps, the Court may decide that you don’t
   oppose the relief sought in the Motion or Objection and may enter an Order Granting the
   relief.




   Notice provided by:
   /s/H. Darden Hutson
   Bar No. 29069
   Fresh Start Law Office PLLC
   4807 Hermitage Road #205
   Richmond VA 23227
   P 804 266 4895
   F 866 455 1349

                                       Certificate of Service
   I hereby certify that true and correct copies of the foregoing were mailed postage pre paid
   or hand delivered to the US Trustee, the trustee in this cause and all parties in interest this
   March 28, 2022.
   ____________________
   /s/H.Darden Hutson
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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   RICHMOND VIRGINIA

   IN RE: Verna Ndiaye

           Debtor                               Case # 19-32975KRH
                                                            Chapter 13
                       MOTION FOR AUTHORITY TO INCUR NEW DEBT

   Comes now debtor, by counsel, pursuant to 11 U.S.C. § 364, L.R. Bankr P. 6004-1 and

   6004-2 and F.R. Bankr P. 9013 and moves for leave to incur new debt to cure pre and

   post petition defaults to PennyMac Loan Servicing (PennyMac) with funds borrowed

   from the U.S. Department of Housing and Urban Development (HUD) and as grounds

   therefore states:

   1.      Debtor is before the court as a Chapter 13 debtor in this case. The case was filed

   June 4, 2019 as a chapter 13 case and the plan confirmed August 16, 2019.

   2.      The debtor is in default of her pre and post petition obligation due to PennyMac

   for payment of the mortgage on her principal residence. Debtor has received approval and

   executed a promissory note and deed of trust (copy attached as Exhibit A) with and for

   the benefit of HUD for the funds necessary to cure such defaults in the amount of

   $3,519.67. The terms of the financing agreement are $3,519.67 @ 0% interest with no

   monthly payment and principal due upon sale, refinance or upon the first mortgage held

   by PennyMac coming due by its terms.

   3.      Upon the granting of this motion, PennyMac shall withdraw its filed Proof of

   Claim and the trustee is relieved of the obligation to pay such claim. Further the Motion

   for Relief filed by PennyMac will be moot.

   H. Darden Hutson, VSB 29069
   Fresh Start Law Office pllc
   4807 Hermitage Road #205
   Richmond VA 23227
   804 266 4680
   hdhlaw@fslo.com
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   WHEREFORE debtor prays that she be given leave to incur new debt as described above

   and for such further relief as the court may deem just.



                                                           Verna Ndiaye
                                                           By Counsel
   By:/s/ H. Darden Hutson
   Bar no. 29069
   Fresh Start Law Office PLLC
   4807 Hermitage Road #205
   Richmond VA 23227
   T 804 266 4680
   F 866 455 1349


                                         Certificate of Service
   I hereby certify that true copies of the foregoing were mailed to the chapter 13 trustee
   and all parties in interest per the attached matrix or sent via the electronic notice list this
   March 28, 2022.
   /s/H. Darden Hutson
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Exhibit A
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Label Matrix for local noticing                      Capital One Auto Finance,
                                                        Document           Pagea division
                                                                                   13 of of13Capi         PENNYMAC LOAN SERVICES, LLC
0422-3                                               4515 N Santa Fe Ave. Dept. APS                       BWW Law Group, LLC
Case 19-32975-KRH                                    Oklahoma City, OK 73118-7901                         8100 Three Chopt Road, Suite 240
Eastern District of Virginia                                                                              Richmond, VA 23229-4833
Richmond
Tue Jul 2 12:11:33 EDT 2019
United States Bankruptcy Court                       Capital One Auto Finance, a division of              Citi/Sears
701 East Broad Street                                AIS Portfolio Services, LP                           Citibank/Centralized Bankruptcy
Richmond, VA 23219-1888                              4515 N Santa Fe Ave. Dept. APS                       Po Box 790034
                                                     Oklahoma City, OK 73118-7901                         St Louis, MO 63179-0034


Commonwealth of Virginia                             Commonwealth of Virginia TACS                        Deptartment Store National Bank/Macy’s
Department of Taxation                               PO Box 2156                                          Attn: Bankruptcy
Offie of Compliance                                  Richmond, VA 23218-2156                              9111 Duke Boulevard
PO Box 27407                                                                                              Mason, OH 45040-8999
Richmond, VA 23261-7407

Kohls/Capital One                                    NYS Higer Education Services Corp                    Pennymac Loan Services
Attn: Bankruptcy                                     PO box 645189                                        Correspondence Unit/Bankruptcy
Po Box 30285                                         Cincinnati, OH 45264-5189                            Po Box 514387
Salt Lake City, UT 84130-0285                                                                             Los Angeles, CA 90051-4387


Synchrony Bank/Lowes                                 Wells Fargo Bank                                     Wells Fargo Bank
Attn: Bankruptcy                                     Attn: Bankruptcy                                     Mac F823f-02f
Po Box 965060                                        Po Box 10438                                         Po Box 10438
Orlando, FL 32896-5060                               Des Moines, IA 50306-0438                            Des Moines, IA 50306-0438


Carl M. Bates                                        H. Darden Hutson                                     John P. Fitzgerald, III
P. O. Box 1819                                       Fresh Start Law Office Pllc.                         Office of the US Trustee - Region 4 -R
Richmond, VA 23218-1819                              4807 Hermitage Road                                  701 E. Broad Street, Ste. 4304
                                                     #205                                                 Richmond, VA 23219-1849
                                                     Richmond, VA 23227-3335

Verna Ndiaye
6205 Checkerberry Drive
Henrico, VA 23231-4717




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Capital One Auto Finance, a division of Ca        End of Label Matrix
4515 N Santa Fe Ave. Dept. APS                       Mailable recipients    18
Oklahoma City, OK 73118-7901                         Bypassed recipients     1
                                                     Total                  19
